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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF LOUISIANA


IN RE: FEMA                                                                     MDL NO. 1873
FORMALDEHYDE
PRODUCT LIABILITY LITIGATION                                                  SECTION “N-5"

                                                                      JUDGE ENGELHARDT

                                                                      MAG. JUDGE CHASEZ

THIS DOCUMENT IS RELATED TO:
Deborah J. Smith, et al v Frontier RV, Inc., et al.,
Case No. 2:10-cv-1355
______________________________________________________________________________

                                   ORDER
______________________________________________________________________________

       Considering the foregoing Second Motion of Plaintiffs, Plaintiffs are allowed until

August 2nd, 2010, or until __________________, 2010, to serve the Defendants.

       IT IS SO ORDERED that the Plaintiffs listed above be GRANTED the Motion for

Extension of Time to Serve.

       DATED this ____ day of _______________, 2010 in New Orleans, Louisiana.



                                            By:     ____________________________________
                                                    KURT D. ENGELHARDT
                                                    UNITED STATES DISTRICT JUDGE


Submitted By:
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